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                                  No. 22-11036

                    United States Court of Appeals
                         for the Fifth Circuit
     IN THE MATTER OF HIGHLAND CAPITAL MANAGEMENT, L.P., Debtor,
  THE CHARITABLE DAF FUND L.P.; CLO HOLDCO, LIMITED; MARK PATRICK;
     SBAITI & COMPANY P.L.L.C.; MAZIN A. SBAITI; JONATHAN BRIDGES,
                                                   Appellants,
                                  v.
                 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                   Appellee.
     IN THE MATTER OF HIGHLAND CAPITAL MANAGEMENT, L.P., Debtor,
                                JAMES DONDERO,
                                                Appellant,
                                   v.
                   HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                Appellee.
               On Appeal from the United States District Court
              for the Northern District of Texas, Dallas Division
                     Nos. 3:21-cv-01974-X, 3:21-cv-1979-S
                  BRIEF FOR APPELLANTS
       THE CHARITABLE DAF FUND L.P.; CLO HOLDCO, LTD;
           MARK PATRICK; SBAITI & COMPANY PLLC;
             MAZIN A. SBAITI; JONATHAN BRIDGES
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FEBRUARY 6, 2023
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             CERTIFICATE OF INTERESTED PERSONS

                             No. 22-11036
                 The Charitable DAF Fund, LP, et al. v.
                  Highland Capital Management, LP

     The undersigned counsel of record certifies that the following

persons and entities as described in the fourth sentence of Circuit Rule

28.2.1 have an interest in the outcome of this case. These representations

are made in order that the judges of this Court may evaluate possible

disqualification or recusal:

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                                             CLO Holdco, Ltd.; Mark Patrick;
                                             Sbaiti & Company, PLLC; Mazin
                                             A. Sbaiti; and Jonathan Bridges




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          STATEMENT REGARDING ORAL ARGUMENT

     Appellants request oral argument as they believe it will

significantly aid the decisional process in this case. There are strong

grounds for reversing the judgment below, and the questions presented

concerning contempt and the interpretation of judicial orders are likely

to arise in future cases.




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                           JURISDICTION

     District court jurisdiction was based on 28 U.S.C. § 158(a)(1) for

appeals from a final contempt order entered by a bankruptcy court.

Petroleos Mexicanos v. Crawford Enters., Inc., 826 F.2d 392, 398 (5th Cir.

1987). Jurisdiction in this Court is based on 28 U.S.C. § 158(d)(1) for

appeal of an order entered pursuant to 28 U.S.C. § 158(a)(1). The final

judgment of the District Court was entered on September 28, 2022. In re

Highland Cap. Mgmt., L.P., No. 19-34054-SGJ11, 2021 WL 3418657

(Bankr. N.D. Tex. Aug. 4, 2021) (ROA.27–57) (“Contempt Order”), aff’d

in part, vacated in part sub nom. Charitable DAF Fund LP v. Highland

Cap. Mgmt. LP, No. 3:21-CV-01974-X, 2022 WL 4538466 (N.D. Tex. Sept.

28, 2022) (ROA.12255–86). Appellants timely noticed their appeal on

October 20, 2022. ROA.12287–89.
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                           ISSUES PRESENTED

     1. Whether the district court erred in affirming the bankruptcy

court’s finding that Appellants violated the bankruptcy court’s

gatekeeping and exculpatory order.

     2. Whether the district court erred in affirming the bankruptcy

court’s finding of contempt under a contrived reading of a gatekeeping

and exculpatory order that was at best ambiguous as to the conduct at

issue.

     3. Whether the district court erred in affirming the bankruptcy

court’s imposition of substantial monetary sanctions against the

Appellants absent any claim of damages caused by the underlying and

already terminated conduct and where the expenses imposed by the

bankruptcy judge lacked any remedial basis and thus served only to

punish or deter Appellants.

     4. Whether the district court erred in affirming the bankruptcy

court’s extension of the doctrine established in Barton v. Barbour, 104

U.S. 126 (1881), to allow gatekeeping and exculpation orders to shield the

CEO of the debtor from claims of liability being brought in the district

court.


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                       STATEMENT OF THE CASE

     Appellants challenge an order of contempt and extraordinary

monetary sanctions entered by the bankruptcy court in response to a

harmless district court motion for leave to amend an already pending

complaint to add the debtor’s CEO, James Seery, where the motion

candidly acknowledged and questioned both the applicability and

validity of the bankruptcy court’s gatekeeping and exculpation order as

applied to Seery as CEO. The motion was denied before anyone even

responded to it, was not renewed, and caused absolutely no harm. The

bankruptcy court nonetheless accepted Appellees’ invitation to hold a

contempt hearing to punish Appellants and inquire into matters

irrelevant to the existence of any unclaimed injury from the alleged

contempt. That hearing had no valid remedial purpose and thus the

resulting   award      represented     unauthorized          punishment,       not

compensation.

     The bankruptcy court’s conclusion—that a mere motion challenging

the scope and validity of a gatekeeping and exculpation order and seeking

district court permission to file an amended complaint adding Seery

violated the bankruptcy court’s order requiring permission to “commence


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or pursue a claim” against Seery (and forbidding certain claims

entirely)—was erroneous.

      The motion for leave neither commenced nor pursued a claim

against Seery, but merely sought permission to do so while fully

acknowledging the gatekeeping order yet disputing its application and

validity.   The contrary conclusion was based on a strained and

implausible interpretation of the order’s text which, even if admitting of

such an unlikely reading, did not do so with the clarity required to

support a finding of contempt. Furthermore, the damages imposed in the

resulting contempt order were not caused by the alleged violation of the

gatekeeping order, which, if anything, likely might well have saved

money by avoiding pointless and duplicative proceedings. Rather, any

damages were caused by the bankruptcy court’s unnecessary and

punitive hearing probing matters not relevant to whether a violation

occurred or caused harm.

      On appeal, the district court signed off on the bankruptcy court’s

flawed analysis, without adequately engaging the serious shortcomings

of the bankruptcy court’s reasoning.




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     A.    Statement of Facts

     The judgment of contempt arises out of the Chapter 11 bankruptcy

of Highland Capital Management, L.P. (“Debtor” or “Highland”), an

investment advisor governed by federally imposed fiduciary duties under

the Investment Advisors Act of 1940. Appellant The Charitable DAF

Fund, L.P. (“DAF”) was a direct client (and later a creditor) of Highland.

Bankruptcy Judge Stacey G.C. Jernigan presided over these proceedings.

     Appellant DAF is the sole owner of Appellant CLO Holdco, Ltd.

(“Holdco”). ROA.28. (Appellants refer collectively to DAF and Holdco as

“DAF.”) James Dondero, who was previously Highland’s CEO, created

several charitable trusts over twenty years ago, and, when their charters

ended around 2011, their then-trustee created DAF to continue raising

money for multiple charities.1 Id. On March 24, 2021, Appellant Mark

Patrick became DAF’s general manager.                ROA.29.     Holdco is the

investment arm for DAF; it invests DAF’s principal funds and distributes

the returns to its certificate holders: The Dallas Foundation, the Greater



1 In Dallas, the DAF has donated over $32 million to charities such as the

Family Place, Dallas Children’s Advocacy Center, the Center for Brain
Health (which helps law enforcement, fireman, and servicemen who
suffered from PTSD after 9/11), and many others. ROA.11694.
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Kansas Community Foundation, the Santa Barbara Foundation, and the

Community Foundation of North Texas. ROA.11695:1–24.

     On October 16, 2019, Highland filed for Chapter 11 bankruptcy as

a debtor-in-possession. ROA.35. No bankruptcy receiver or trustee was

ever appointed. Rather, three independent directors were appointed to

manage Highland, including James Seery. The board then selected Seery

to serve as Highland’s CEO and Chief Restructuring Officer during the

bankruptcy proceedings. ROA.36.

     In approving these selections, the bankruptcy court expressly

deferred to the board’s “business judgement” in selecting Seery.

ROA.11722–23. It then issued an order that contained “gatekeeping” and

exculpatory provisions. The relevant portion of that order provides:

     No entity may commence or pursue a claim or cause of action
     of any kind against Mr. Seery relating in any way to his role
     as the chief executive officer and chief restructuring officer of
     the Debtor without the Bankruptcy Court (i) first determining
     after notice that such claim or cause of action represents a
     colorable claim of willful misconduct or gross negligence
     against Mr. Seery, and (ii) specifically authorizing such entity
     to bring such claim. The Bankruptcy Court shall have sole
     jurisdiction to adjudicate any such claim for which approval
     of the Court to commence or pursue has been granted.

Order ¶ 5 (July 16, 2020) (ROA.1172) (“Seery Order”).               Beyond just

channeling litigation to the bankruptcy court, the gatekeeping order
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effectively exculpated Seery, in his role as CEO, from all causes of

action—such as breach of fiduciary duty, breach of contract, and

negligence—that do not require “willful misconduct or gross negligence.”

     B.    Procedural Background.

     On April 12, 2021, DAF filed a complaint in the district court

against Highland and two Highland-controlled entities. ROA.2663–88. 2

     The complaint arose out of a post-petition settlement agreement

between the Debtor, Highland, and a creditor called HarbourVest, which

occurred after the Seery Order. As part of that agreement, negotiated by

Seery, ROA.2664, Highland settled HarbourVest’s claims and acquired

HarbourVest’s interests in a managed fund, Highland CLO Funding, Ltd.

(“HCLOF”), at a valuation of $22.5 million.              ROA.2667–73.         The

bankruptcy court approved the settlement. ROA.2669.

     Appellant DAF, through Holdco, also owned a substantial portion

of HCLOF and had a potential interest in buying HarbourVest’s stake,

which it later came to believe was worth far more than $22.5 million.

ROA.2667–73 (HCLOF stake alleged to be worth $41.8 million at time of


2 This complaint was filed nine months after the Seery Order. It was
only at this point when DAF engaged new counsel, Sbaiti & Company
PLLC (“Attorney Appellants”).
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approval hearing). While that low purchase price may have been a good

deal for Highland, DAF believed that by purchasing the HCLOF stake

itself, rather than offering its client DAF the option to purchase it,

Highland violated various duties owed to DAF.

     The complaint alleged that, based in substantial part on Seery’s

conduct as CEO, the Highland defendants had breached their fiduciary

duties under the Advisor’s Act, interfered with the HCLOF company

agreement, acted negligently, and violated the RICO statute in the

process of securing the HarbourVest settlement. See Compl. ¶¶ 55–141

(ROA.2673–87). The complaint did not name Seery, and thus DAF did

not need or seek the bankruptcy court’s permission to file the complaint.

     Shortly after the complaint was filed, however, DAF filed a Motion

with the district court expressly acknowledging the gatekeeping and

exculpatory order and seeking that court’s review of the validity and

scope of the Seery Order and leave to amend the complaint to add Seery

as a defendant.        ROA.2689–98.         Although Federal Rule of Civil

Procedure 15(a) would have allowed DAF to amend the complaint as of

right, DAF filed the Motion “out of an abundance of caution” in light of

the Seery Order, as the Motion itself explained. ROA.2689. DAF told


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Highland’s attorneys as much in the pre-motion meet-and-confer process.

ROA.2649–50.        Reflecting    such       caution,    the    proposed       order

accompanying the Motion was not self-executing and would not have

automatically added Seery as a defendant. ROA.2787 (omitting “deemed

filed” from proposed order).

     The proposed Amended Complaint, had leave been granted and

ultimately acted upon by DAF, would have added Seery as a defendant

on claims for, inter alia, breach of fiduciary duty, negligence, and tortious

interference that otherwise would have been barred by the exculpatory

aspects of the Seery Order (hence the discussion of such order in the

Motion). The Motion “present[ed] the issue [of potentially adding Seery]

in a manner that allows the bankruptcy court to address it, should [the

district] Court decide that the bankruptcy court is authorized to do so.”

ROA.2697.

     The next day, before Highland even responded to the Motion, the

district court denied it without prejudice for procedural reasons. Min.

Order, Charitable DAF Fund v. Highland Cap. Mgmt., No. 3:21-cv-0842

(N.D. Tex. Apr. 20, 2021) (“[t]o the extent a motion for leave to file an

amended complaint is required under Rule 15, Plaintiffs may renew their


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motion after Defendants are served and have appeared”) (ROA.2782).

DAF never renewed the Motion and Highland never responded to it.

     Notwithstanding the ultimately costless non-event of DAF having

briefly sought, but been denied, guidance and permission from the

district court, Highland moved the bankruptcy court to initiate contempt

proceedings against Appellants and their counsel for filing the Motion.

Mot. for Order to Show Cause (Apr. 23, 2021) (ROA.1764–68). Notably,

in doing so, Highland did not claim to have suffered any damages from

the district-court Motion.    Rather, Highland merely contended that

Appellants violated the Seery Order, and that “[i]n this context,

particularly with a vexatious litigant like Mr. Dondero, judicial sanctions

would serve the dual purposes of (i) coercing the Violators into

compliance with the Orders, and (ii) compensate the Debtor for losses

sustained in addressing such violations.” ROA.1797. Indeed, Highland

confirmed that its damages, if any, arose only out of its “bringing [the

contempt] Motion.” ROA.1778.

     The bankruptcy court promptly issued an order requiring “the

violators” (i.e., DAF, Holdco, and their control persons and counsel) to

show cause why they should not be held in contempt. Order (April 29,


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2021) (ROA.2584–86). For the next several weeks, the bankruptcy court

permitted Highland to initiate extensive discovery, including depositions

and document exchanges, directed not at DAF’s own conduct in filing the

Motion, but instead at Dondero’s current relationship to DAF and

whether he played any behind-the-scenes part in DAF’s conduct.

     On June 8, 2021, the bankruptcy court held an evidentiary hearing

on the order to show cause, at which it heard several hours of largely

irrelevant   argument     and   testimony      from    multiple     witnesses.

ROA.11658–959. After hearing argument that Dondero, as an adviser to

DAF, gave information to DAF’s counsel, the court ordered Dondero to

disclose privileged and work-product-protected communications over

significant objections. ROA.11841–44.

     On August 4, 2021, the bankruptcy court held Appellants and their

counsel in contempt for challenging the Seery Order and seeking leave of

the district court to add Seery to the action against Highland.             See

Contempt Order at 7 (ROA.33). And it held Dondero in contempt as a

supposedly secret control person, despite his having no legal authority




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over DAF and having not been a party to the complaint or the Motion.

Id. at 19–21, 30–31 (ROA.45–47, 56–57). 3

     The bankruptcy court held that the Seery Order was appropriate

under Barton v. Barbour, 104 U.S. 126 (1881), and questioned the

timeliness of Appellants’ challenge to the reach of the Order, stating that

“no one appealed” it when it was entered and thus it was “too late to argue

about the[] legality or enforceability.”    Contempt Order at 8, 15–17

(ROA.34, 41–43).

     The court then concluded that merely requesting review of that

Order and leave to file an amended complaint was “pursu[ing] a claim”

against Seery, notwithstanding that the Amended Complaint was never

ultimately filed or “commenced.” Id. at 27 (ROA.53).



3 Co-Appellant Dondero has made no secret of his concern with the
bankruptcy judge’s antipathy towards him and all entities she views as
affiliated with him. Since the contempt proceedings, he sought to have
her recused and objected to her conduct in other manners. See, e.g., Mot.
to Recuse (ROA.14185–86). While those issues are not directly presented
in this appeal, they are nonetheless relevant as they confirm the
protective necessity of the high hurdles imposed on findings of contempt,
particularly where a bankruptcy judge effectively collapses any
separation of powers by writing restrictive but potentially vague orders,
effectively prosecuting perceived violations thereof, and adjudicating and
punishing any violations deemed to have occurred. See infra, at 36–37
nn.11 & 12 (discussing restrictions on contempt power).
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     Despite Highland having spent nothing to oppose the supposedly

offending Motion, the bankruptcy court penalized Appellants by

sanctioning them $239,655 in “damages” created by Highland’s and the

court’s own efforts to punish Appellants, representing Highland’s

attorneys’ fees for the contempt proceeding itself and expenses the

bankruptcy court “assume[d]” were “related to the contempt matter.” Id.

at 29 (ROA.55). The bankruptcy court ignored Appellants’ argument that

Highland would have incurred comparable expenses even if Appellants

had first filed their Motion for leave in the bankruptcy court, and that

such expenses should be offset before finding any damages caused by the

alleged contempt. See ROA.11708.

     In a further reflection of the punitive and deterrent nature of the

contempt proceedings and order, the bankruptcy court “add[ed] on a

monetary sanction of $100,000 for each level of rehearing, appeal, or

petition for certiorari that [Appellants] may choose to take with regard to

this Order, to the extent [they] ... are not successful.” Id. at 29–30

(ROA.55–56).

     Appellants appealed to the district court. Appellees conceded, and

the district court agreed, that the $100,000-per-appeal sanction was


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excessive and improper and accordingly the court vacated that aspect of

the contempt judgment.       ROA.12267.       On all other aspects of the

Contempt Order, however, the district court largely echoed the

bankruptcy court.

     Regarding whether the Motion for leave violated the Seery Order,

the district court cited a few general, non-legal definitions of “pursue” as

“‘seeking’ or ‘trying’ to obtain a desired end.”       ROA.12260 (citations

omitted). It then concluded that that the Motion “s[ought]” to add Seery

as a defendant and thus “pursue[d]” a claim against him. ROA.12260–

61. The district court further rejected the argument that the Seery Order

was too ambiguous to support contempt, briefly concluding that the

Order was “definite and specific,” and dismissing Appellants’ arguments

as mere “definitional quibble[s].” ROA.12262–63. The court also rejected

arguments that the damages were improper and improperly punitive

rather than compensatory, acknowledging the lack of harm from the

contempt itself, but treating payment for the amounts expended by

Highland in bringing the contempt proceeding itself as compensatory.

ROA.12270–71. The district court declined to consider costs Highland

would have incurred absent the alleged contempt as bearing on whether


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a net injury occurred, approving the bankruptcy court’s narrow focus on

“the fees incurred during the contempt hearing.”            ROA.12271 n.82.

Finally, regarding the validity of the Seery Order, under the Barton

doctrine and otherwise, the court held that it “lack[ed] jurisdiction to

consider [a] collateral attack” on the bankruptcy court’s power to issue

the Order because neither Appellants nor their predecessors in interest

challenged the Order at the time it was entered. ROA.12264–66.4

       This appeal followed.

                       SUMMARY OF ARGUMENT

     “Process of contempt is a severe remedy, and should not be resorted

to where there is fair ground of doubt as to the wrongfulness of the

[alleged contemnor’s] conduct.”        Cal. Artificial Stone Paving Co. v.

Molitor, 113 U.S. 609, 618 (1885). That longstanding principle, largely

equivalent to the rule of lenity, applies equally in the bankruptcy context



4 Appellants also argued before the district court that the imposition of

sanctions violated due process, were excessive fines, and that the Seery
Order raised Takings and Appointment Clause problems. Those
concerns are not being raised here as independent issues, but they
nonetheless inform construction of the Order and appellate review of the
contempt proceedings. Cf. Whitman v. Am. Trucking Ass’ns, 531 U.S.
457, 471 (2001) (discussing “the canon requiring texts to be so construed
as to avoid serious constitutional problems”).
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today. Taggart v. Lorenzen, 139 S. Ct. 1795, 1801 (2019) (“bankruptcy

statutes … do not grant courts unlimited authority” to discipline parties

and their counsel but “incorporate the[se] traditional standards” for

“when a party may be held in civil contempt for violating an injunction”).

     Here, the bankruptcy and district courts flouted this basic

principle, ignored the text the Seery Order, and imposed $239,655 in

unwarranted sanctions against Appellants for “damages” caused not by

the supposedly contemptuous and short-lived Motion for leave, but by

Highland and the bankruptcy court’s improper and unnecessary efforts

to punish Appellants.

     First, the Motion for leave did not violate the Seery Order. That

Order required the bankruptcy court’s approval before an entity could

“commence or pursue a claim or cause of action … against Mr. Seery.”

ROA.1172.    All agree that Appellants’ district-court Motion did not

“commence” a claim against Seery. But the courts below held that the

Motion nonetheless amounted to “pursu[it]” of such a claim. It did not.

     To “pursue” a claim means to “prosecute” it, and Appellants could

not have prosecuted any claim against Seery, since he was never named

a defendant in the district-court proceeding. Both the definitions of the


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relevant words and the structure of the gatekeeping sentence

demonstrate that one cannot “pursue” a claim that has yet to be

“commenced.” That Seery might later have become a defendant had the

district court ultimately granted the Motion is irrelevant to whether the

Motion itself constituted pursuit of a claim against him and puts the cart

before the horse. And had leave been granted with full knowledge and

consideration of the Seery Order, any ensuing conduct thus authorized

by supervening order of the district court could not possibly be deemed

contempt of an order that would no longer have controlled. Appellants

neither commenced nor pursued a claim against Seery, did not violate

the Seery Order, and hence did not engage in contempt.

     Second, while the district court relied on one particularly broad and

out-of-context definition of “pursue” to reach Appellants’ conduct, that

definition applied here is implausible at best and lacks the clarity and

certainty necessary to sustain a contempt finding. Indeed, the district

court largely ignored the competing definitions of “pursue” and the

context from the phrase “commence or pursue a claim,” which, at the very

least, made the Order ambiguous as to whether Appellants’ district-court

Motion constituted “pursu[it]” of a claim. Litigants may not be held in


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civil contempt unless, among other things, they violated an order that

“neither vaguely nor ambiguously, required the [alleged contemnor] to …

abstain from certain conduct.” Oaks of Mid City Resident Council v.

Sebelius, 723 F.3d 581, 585 (5th Cir. 2013).

     Third, even if the Motion were deemed contemptuous, the damages

awarded to Appellees were not caused by the supposedly contemptuous

conduct, were legally flawed in their measure in any event, and thus

constituted improper and unauthorized punishment, not compensation.

Not only did the quickly denied Motion for leave cost Appellees nothing,

it was not renewed and there was no ongoing “contemptuous” conduct

requiring the bankruptcy court’s action.          Furthermore, the expense

imposed by the contempt proceedings had nothing to do with a proper

consideration of whether Appellants’ conduct constituted contempt or

caused any injury. Instead, it was focused largely on punishing James

Dondero, who was not a party to the Motion and hence was irrelevant to

evaluating whether that Motion constituted contempt or caused

damages. In short, the hearing just offered the opportunity to attack

Dondero and make Appellants pay for the privilege. The cost of such




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proceedings reflect punishment, not an effort to remedy any ongoing

contempt or compensate for the non-existent costs of the Motion.

     Even apart from the unnecessarily self-inflicted and bankruptcy-

court-inflicted costs of the contempt proceedings, the district court failed

to consider the costs Highland would have faced had the Motion been

filed first in the bankruptcy court and then appealed to the district court

thereafter. Highland would have expended significant resources in those

proceedings, potentially more than it did in the contempt proceeding.

Accordingly, the contempt sanction did not reflect only the net injury

actually caused by the purported violation of the Seery Order, and thus

was impermissibly punitive, rather than compensatory in nature.

     Finally, the contempt judgment should be reversed because it was

premised on an unwarranted extension of the questionable Barton

doctrine. That doctrine’s extra-statutory policymaking is increasingly

suspect given more recent jurisprudential developments and hence

Barton should not be extended to circumstances beyond its narrow terms

or clear precedent otherwise controlling this Court.

     Tellingly, Appellees have not identified any case from this Circuit

that has extended the Barton doctrine to corporate officers of a debtor.


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Indeed, this Court itself has recently rejected exculpating Seery and

others when reviewing the final bankruptcy order regarding Highland.

Matter of Highland Cap. Mgmt., L.P., 48 F.4th 419, 438 (5th Cir. 2022),

petitions for cert. filed sub nom. Highland Cap. Mgmt., L.P. v. NexPoint

Advisors, L.P., No. 22-631 (U.S. Jan. 5, 2023) and NexPoint Advisors, L.P.

v. Highland Cap. Mgmt., L.P., No. 22-669 (Jan. 16, 2023). And, while it

was too late in that final-order proceeding to challenge earlier orders not

at issue in that appeal, here the objection to Seery’s exculpation was

raised in the Motion to the district court at Appellants’ first reasonable

opportunity to consider the Seery Order as applied, and at a time when

such order was not final. And it is now properly being challenged in an

appeal concerning the direct application of the Seery Order as the basis

for a finding of contempt based on the very act of challenging that Order

via the Motion. Because the Seery Order, and the contempt judgment

premised on its supposed violation, reflect an unwarranted and

inappropriate extension of the Barton doctrine, the judgment below

should be reversed.




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                              ARGUMENT

     Contempt may only be used when there has been a violation of “a

clear and unambiguous order.” United States v. O’Quinn, 913 F.2d 221,

222 (5th Cir. 1990) (per curiam); accord Piggly Wiggly Clarksville, Inc. v.

Mrs. Baird’s Bakeries, 177 F.3d 380, 382 (5th Cir. 1999) (same). There

was no such violation here. Under any reasonable understanding of the

term, Appellants did not “pursue” a claim against Seery. Appellants were

never put on notice that the Seery Order would reach a Motion for leave

that was denied in a case where Seery was never named as a defendant.

Such an ambiguous and “uncertain[]” application of an order cannot form

the basis of a contempt finding. Matter of Baum, 606 F.2d 592, 593 (5th

Cir. 1979).

     Rather than following the law constraining civil contempt, the

bankruptcy court sought to punish Appellants for their harmless and

terminated conduct.     The bankruptcy court’s judgment was “clearly

erroneous” as to both the law and the facts.        And the district court

compounded these errors by repeating them.           Under the applicable

abuse-of-discretion review standard, In re Yorkshire, LLC, 540 F.3d 328,

331 (5th Cir. 2008), this Court should reverse those decisions.            A


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bankruptcy court abuses its discretion when its ruling is based “on an

erroneous review of the law or on a clearly erroneous assessment of the

evidence.” Id. And applying de novo review to the “bankruptcy court’s

interpretation of its own orders [and related] pure[] legal questions,”

Matter of Riley, 923 F.3d 433, 437 (5th Cir. 2019), the courts below erred

in imposing and affirming the contempt order.

I.   Appellants Did Not Violate the Seery Order.

     Appellants did not improperly “commence or pursue a claim”

against Seery within the plain, ordinary, and contextual meaning of the

Seery Order. The courts below each erred in holding otherwise.

     The Seery Order was a preliminary step in a bankruptcy

reorganization plan, which “represents a kind of consent decree that

should be interpreted as a contract.” In re Tex. Com. Energy, 607 F.3d

153, 158 (5th Cir. 2010). Courts must give contractual terms “‘their plain,

ordinary, and generally accepted meaning unless the instrument shows

that the parties used them in a technical or different sense.’” Dynamic

CRM Recruiting Sols., LLC v. UMA Educ., Inc., 31 F.4th 914, 920 (5th

Cir. 2022) (quoting Heritage Res., Inc. v. NationsBank, 939 S.W.2d 118,




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121 (Tex. 1996)). 5    “To properly understand the objective meaning

conveyed by … text, ‘[a court] must read all parts of the [instrument]

together, striving to give meaning to … every word’ and ‘to avoid

rendering any portion inoperative.’” Id. at 918 (quoting Balandran v.

Safeco Ins. Co. of Am., 972 S.W.2d 738, 741 (Tex. 1998)).

     Moreover, “when the law is the subject, ordinary legal meaning is

to be expected.” Day v. Persels & Assocs., LLC, 729 F.3d 1309, 1317 (11th

Cir. 2013) (emphasis added) (quoting Antonin Scalia & Bryan A. Garner,

Reading Law: The Interpretation of Legal Texts 73 (2012)). The Texas

Supreme Court thus often consults Black’s Law Dictionary as the lead

authority on the “ordinary meaning” of words used in legal documents.

See Ingram v. Deere, 288 S.W.3d 886, 899 (Tex. 2009); see also CANarchy

Craft Brewery Collective, LLC v. Tex. Alcoholic Beverage Comm’n, 37

F.4th 1069, 1074 (5th Cir. 2022) (applying Texas law and relying on

Black’s for “ordinary” meaning).

     In this case, it is not alleged that Appellants “commence[d]” a claim

against Seery by filing their district-court Motion.              Rather, the


5 Texas law governs construction of federal “consent decrees concluded

between Texas parties.” Frew v. Janek, 780 F.3d 320, 327 n.28 (5th Cir.
2015).
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bankruptcy court erroneously held that Appellants “pursue[d] a claim”

against Seery in violation of the exculpation and gatekeeping aspects of

the Seery Order.

     Looking to the legal meaning of “pursue,” it means “[t]o prosecute

or sue,” as in “to pursue for damages.” Pursue, Black’s Law Dictionary

(11th ed. 2019). Earlier editions of Black’s made the point even more

plainly, see Pursue, Black’s Law Dictionary 1237 (6th ed. 1990) (“To

follow, prosecute, or enforce a matter judicially, as a complaining party.”);

as do some lay dictionaries, see Pursue, Webster’s Third New

International Dictionary 1848 (unabridged ed. 1993) (“[T]o follow or seek

by judicial proceedings: PROSECUTE”). Older legal dictionaries tell a

similar story. See, e.g., Pursue, Frederic Jesup Stimson, A Concise Law

Dictionary of Words, Phrases, and Maxims 291 (Harvey Cortlandt

Voorhees ed. 1911) (“To prosecute.”); Pursue, James A. Ballentine, A Law

Dictionary 401 (1916) (“To cause one’s prosecution.”); Pursue, Walter A.

Shumaker & George Foster Longsdorf, The Cyclopedic Law Dictionary

826 (James C. Cahill 2d ed. 1922) (“To follow a matter judicially, as a

complaining party.”). As a court in this Circuit has similarly explained,

“‘[t]o pursue’ … refers to the process of prosecuting a claim in court, or


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the initiation and continued pursuit of a legal suit.” In re SkyPort Glob.

Commc’ns, Inc., No. 08-36737-H4-11, 2013 WL 4046397, at *45 (Bankr.

S.D. Tex. Aug. 7, 2013), aff’d, 528 B.R. 297 (S.D. Tex. 2015), aff’d, 642 F.

App’x 301 (5th Cir. 2016), and 661 F. App’x 835 (5th Cir. 2016).

     A litigant thus “commences” an action against another by beginning

it, and then “pursues” that action by carrying it out. 6 Thus, the phrase

“pursuit of a claim,” even according to its “broad definition,”

“encompass[es] the initiation of a new suit and the prosecution of a

pending cause of action.” SkyPort, 2013 WL 4046397, at *75. Appellants’

district-court Motion did neither.          Rather, that Motion sought only

permission to take future action—permission that was never given.7


6 This point is reinforced by decisions equating “pursue” with “prosecute,”

see City of Champaign v. Hill, 173 N.E.2d 839, 843 (Ill. App. Ct. 1961)
(citing other dictionaries equating the two words), which similarly refers
to the actions taken to litigate an already-filed claim, see Cohens v.
Virginia, 19 U.S. (6 Wheat.) 264, 408 (1821) (“To commence a suit, is to
demand something by the institution of process in a Court of justice; and
to prosecute the suit, is, according to the common acceptation of
language, to continue that demand.”).
7 During a later stage of the SkyPort litigation, the bankruptcy court did,

however, conclude that a filing seeking to add new claims against existing
defendants violated an order stating: “The Plaintiffs are temporarily
enjoined from pursuing any and all claims or causes of action, derivative
or direct, against all of the Defendants.” 528 B.R. at 348. The district
court affirmed with little discussion, indicating agreement with the
bankruptcy court’s “reject[ion] [of] the [contemnors’] argument that
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     In agreeing with the bankruptcy court as to the broad meaning of

“pursue” in the Seery Order, the district court rejected the legal

definitions Appellants identified and chose generic, non-legal definitions

of the word “as ‘seeking’ or ‘trying’ to obtain a desired end” based on the

assertion that this was how “most dictionaries” defined “pursue.”

ROA.12260–61 (citations omitted).          The court then concluded that

Appellants’ Motion “s[ought]” to add Seery as a defendant to their other

suit and thus “pursue[d]” a claim against him.

     The district court’s reasoning divorces the word “pursue” from its

long legal history and the context of the Seery Order. But term cannot

be “properly underst[oo]d” without “read[ing] all parts of [an instrument]

together, striving to give meaning to every … word[.]” Dynamic, 31 F.4th

at 918 (quoting Balandran, 972 S.W.2d at 741). And when selecting from

multiple dictionary definitions of a particular word a court must


making a request to pursue a claim was not pursuing a claim.” Id. at
347. In SkyPort, however, the injunction was much broader than the
Seery Order and did not distinguish between seeking permission and
pursuing a claim. Furthermore, litigation had already been “commenced”
against the same defendants and hence the motion was in pursuit or
expansion of the commenced claims. And, though the contempt judgment
was affirmed on appeal, whether a request to amend constitutes
“pursuing” a claim does not appear to have been raised or addressed. See
642 F. App’x 301; 661 F. App’x 835, 842–43.
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determine which “definitions of [a word] [are] reasonably applicable in

the … context.” RealPage, Inc. v. Nat’l Union Fire Ins. Co. of Pittsburgh,

21 F.4th 294, 298 (5th Cir. 2021). For example, some definitions of

“pursue” include “to follow in order to overtake, capture, kill, or defeat,”

Pursue,     Merriam-Webster         Dictionary,       https://www.merriam-

webster.com/dictionary/pursue (last visited Feb. 5, 2023), yet obviously

that is not the sense in which the Seery Order uses the word. Context

matters.

     Appellants naturally read the Seery Order’s prohibition on the

“pursu[it]” of certain claims in its legal and contextual sense—as barring

or requiring permission to further litigate claims that were already

“commence[d]” against Seery.       If “pursue” instead means any pre-

commencement action that might eventually lead to suit, it would be

hard to imagine any limit to what constitutes “pursuit” of a claim—legal

research, drafting a complaint, conferring with a client, etc. Furthermore,

such an overbroad definition of “pursue” would render the word




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“commence” superfluous, violating the most basic of rules for contractual

(and statutory) construction. See Dynamic, 31 F.4th at 919 & n.16. 8

     Indeed, the Seery Order’s own requirement of bankruptcy-court

permission before commencing or pursuing certain claims confirms that

a motion for permission to amend cannot itself be deemed to “commence

or pursue a claim.” If one may not “commence or pursue a claim” without

first receiving authorization, and the act of requesting authorization

(regardless from whom it is sought) itself is deemed to “pursue a claim,”

the Order eats its tail and prospective litigants would always violate the

Seery Order even by seeking to comply with it.9 When interpreting terms



8  In its district-court brief, Highland dismissed the overbreadth
argument as a “parade of horribles,” claiming that the Seery Order
supposedly only “appl[ies] to actions taken in court.” ROA.12100. But
that non-textual “only-in-court-action” limitation on the Seery Order’s
scope has no basis in the sweeping definition advocated by Highland and
adopted by the courts below. If “pursue” as used in the Order merely
means, “try to achieve something,” ROA.12098, 12260 & n.24 (citation
omitted), then it does not matter whether one is “trying” in court or out
of court. And that non-textual limitation still would not cure the
definition’s nullification of the word “commence,” which obviously
happens in court in any event.
9 That the bankruptcy court may have wished to be the exclusive
recipient and potential grantor of such pleas does not alter the linguistic
point that the mere request for permission to take an act is not the
requested act itself. Otherwise, there would be an infinite regression of
requests for permission to seek permission.
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in an instrument, “apparent inconsistencies or contradictions must be

harmonized, to the extent possible, by construing the document as a

whole.” Hysaw v. Dawkins, 483 S.W.3d 1, 13 (Tex. 2016).

     Furthermore, as this Court has explained, the use of certain words

or phrases by “legal authorities (including [judicial] decisions) …

necessarily inform[s]” interpretation of such language in legal texts, “for

the objective meaning conveyed by … terminology may depend on

longstanding   usage    or     linguistic   conventions   surrounding       that

terminology.” Dynamic, 31 F.4th at 921–22. The many legal sources

cited above more than support a narrower reading of the word “pursue"

in the Seery Order. And the handful of cases interpreting the word

“pursue” in the legal context likewise cut against the bankruptcy court’s

reading of the word here.

     For example, one district court interpreting a class certification

order had to determine whether two putative plaintiffs (Brooks and

Bailey) had “pursued” their claims prior to receiving the class action

notice in the mail. The court held that no such “pursu[it]” had occurred,

even though both filed suit:

     [W]hether the mere filing of the lawsuits constitutes a
     “pursuit of the discrimination claims” is suspect. Indeed, the
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     Black’s Law Dictionary p. 1112 (1979) defines “pursuit” as,
     “To follow, prosecute, or enforce a matter judicially, as a
     complaining party.” Because, for jurisdictional reasons, the
     courts dismissed the three cases before Books and Bailey
     could begin discovery, file pleadings, and eventually proceed
     to a trial on the merits, Bailey and Books could not “pursue”
     their claims.

Bennett v. Bombela, No. 83 C 480, 1996 WL 745384, at *5 (N.D. Ill. Dec.

30, 1996). That discussion nicely illustrates the distinction between

“commenc[ing]” and “pursu[ing]” a claim and would give both terms in

the Seery Order meaning. If the dismissal of an existing suit before any

litigation on the merits means a claim was not “pursued,” then surely the

denial of Appellants’ district-court Motion before Seery was named as a

defendant at all means that no claims against him were “pursued.”

     In another decision, the Ohio Supreme Court interpreted “pursue”

in the context of a statute providing that “[n]o employer shall discharge

… any employee because the employee filed a claim or instituted, pursued

or testified in any proceedings under the workers’ compensation act[.]”

Ohio Rev. Code § 4123.90. In that case, Bryant v. Dayton Casket Co., 433

N.E.2d 142 (Ohio 1982), the court rejected a former employee’s retaliation

argument, concluding that the statute “applies only if the employee had

… tak[en] some action which would constitute the actual pursuit of his


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claim, not just an expression of his intent to do so.” Id. at 145. The court

primarily relied on Black’s definition of “pursue” as “[t]o follow … a

matter judicially, as a complaining party.” Id. at 144 (quoting Black’s

Law Dictionary 1112 (5th ed. 1979)).

     In this case, Appellants’ district-court Motion was far more akin to

“an expression of … intent” to sue Seery than it was to an “action which

would constitute the actual pursuit of [such a] claim,” in the sense of

“follow[ing] … [the] matter judicially, as a complaining party.”            Id.

at 144–45.    Indeed, even if Appellants’ Motion had been granted,

Appellants still would not have been “pursu[ing]” a claim against Seery,

as the Appellants’ accompanying proposed order was not self-executing.

ROA.2787 (omitting “deemed filed”).

     The district court rejected this argument, insisting that Appellants

“would have had no choice” but to amend if their Motion was granted:

“They attached the proposed amended complaint, and, as the local rules

make clear, ‘[i]f leave [to amend] is granted … the clerk will file a copy of

the amended pleading.’” ROA.12261 (quoting N.D. Tex. L.R. 15.1(b)).

But that overlooks the rest of the rule: “If leave is granted, the amended

pleading will be deemed filed as of the date of the order granting leave,


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or as otherwise specified by the presiding judge, and the clerk will file a

copy of the amended pleading.” N.D. Tex. L.R. 15.1(b) (emphasis added).

The proposed order granting leave did not specify that the amended

complaint would be filed, and the Motion presented the option of allowing

the bankruptcy court to consider the amendment instead. Nothing in the

Local Rule would have predetermined the filing of the Amended

Complaint in such circumstances.

     Furthermore, the Motion expressly challenged the Seery Order as

both inapplicable and invalid, explaining that leave should be granted if

the district court agreed. ROA.2689–98. Thus, the Motion made clear

that Appellants intended only to “pursue” a claim after a determination

was made that the Seery Order was inapplicable or invalid. Given that

necessary predicate for granting leave to amend, it is literally impossible

for any resulting amendment to violate the Seery Order, which would no

longer control if and when such an amendment came to pass. Any order

granting leave to file Amended Complaint would necessarily have

superseded the Seery Order and hence any resultant filing (automatic or

not) could not have violated that Order.




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     Regardless whether the bankruptcy court thought the Motion

somehow violated its overarching “intent” in adopting the Seery Order, it

is the text of the Order, not such subjective intent, that matters.

“[R]eliance on … subjective intent” in interpreting bankruptcy courts’

orders is not appropriate; only “the plain text controls.” Matter of PFO

Glob., Inc., 26 F.4th 245, 255 (5th Cir. 2022), cert. denied sub nom. VSP

Labs, Inc. v. Hillair Cap. Investments, LP, 142 S. Ct. 2782 (2022) (mem.).

     In any event, even if the Seery Order’s abstract “purpose” of

limiting legal distractions for Seery should affect its interpretation, this

consideration would also cut against the bankruptcy court’s reading of

the Order. DAF’s suit against Highland was already properly filed and

Seery would necessarily have been involved in its defense anyway, even

if not as a defendant.     More importantly, Appellants’ district-court

Motion never required a response from Seery, was denied before even

being served on him, and was not renewed. The Motion did not distract

or harass him in the slightest, and certainly not in any way distinct from

its theoretical impact on Highland itself, which was already a proper

party to the litigation and not protected by the Seery Order nor

separately burdened by any supposed violation of that Order. Thus, even


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if minimizing legal bother for Seery (as opposed to Highland), were

relevant to determining whether the Seery Order was violated,

Appellants still did not clearly violate the Order.

     Finally, Highland’s district-court brief argued that Appellants

could not avoid the “prohibition on using a contempt proceeding to launch

a collateral attack on [a judicial] order” by “pitch[ing] their appeal as …

‘a subsequent as-applied challenge’ to the … Seery Order[].” ROA.12107.

But Appellants’ interpretive argument here, as distinct from their

challenge to the validity of the Seery Order, infra, at Part IV, is not even

remotely a “collateral attack” on the Order.10 An argument regarding

“the mere construction of a [judicial] decree involves no challenge of its


10 Even the challenge to the validity of the Seery Order in the Motion was

not an impermissible collateral attack and, in any event, preceded the
contempt proceedings. In one sense, Appellants’ Motion may be construed
as a Rule 60 motion. See 12 James Wm. Moore et al., Moore’s Federal
Practice § 60.84[b][2][a] (3d ed. 2005) (“Historically, there is precedent
for the idea that it is within the equitable powers of a federal court to
grant relief from a civil judgment issued by another federal court.”); id.
§ 60.64 (explaining that appropriate requests for relief are treated as
Rule 60(b) motions regardless of label) (citing, e.g., Odishelidze v. Aetna
Life & Cas. Co., 853 F.2d 21, 24 (1st Cir. 1988) (treating motion to amend
complaint after dismissal order as a Rule 60(b) motion)). Surely an order
cannot prohibit its own challenge and penalize as contempt any attempt
to do so. And to treat renewal of a direct challenge to the Seery Order as
a “collateral attack” when raised as a defense to the ensuing contempt
proceedings based on that self-same direct challenge seems solipsistic.
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validity.” St. Louis, K.C. & C.R. Co. v. Wabash R.R. Co., 217 U.S. 247,

250–51 (1910). This Court has deployed this principle in the contempt-

proceeding context, ordering a contempt sanction vacated while carefully

noting interpretive questions are not impermissible collateral attacks:

“The point is not that the [order] was invalid, it is that regardless of

whether [the order] was valid, [it] did not proscribe the [alleged

contemnor’s] conduct.” Sebelius, 723 F.3d at 586 n.18. So, too, here

regarding how to interpret the word “pursue” in context. 11

     In sum, although there are some overbroad and non-contextual

definitions of “pursue” that might cover the underlying Motion, the Seery

Order’s “plain language, when read in context, giving effect to all [its]



11 Of course, in construing the scope of a judicial order, doctrines of
avoidance may indirectly look to the uncertain validity of an order to
determine whether a broad construction should be avoided and a narrow
construction favored. Such avoidance, after all, underlies the rule
requiring that an order supporting contempt be unambiguous given
underlying due process and separation of powers concerns. See infra at
36, n.12. Likewise, the lack of bankruptcy court authority to impose
criminal contempt would require careful attention to the nature and
scope of any sanctions imposed. In re Hipp, Inc., 895 F.2d 1503, 1510–11
(5th Cir. 1990) (“bankruptcy courts do not have inherent criminal
contempt powers”). And, an order stretching the bounds of a bankruptcy
court’s gatekeeping and exculpatory authority would favor a narrow
reading of any such order regardless whether a full-blown challenge to
the order might raise questions of timing.
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provisions, is unambiguous” in failing to reach a mere request, promptly

denied, to later commence a claim against Seery. Am. Mfrs. Mut. Ins. Co.

v. Schaefer, 124 S.W.3d 154, 158 (Tex. 2003). The bankruptcy court erred

in holding otherwise, and its judgment of contempt therefore must be

reversed.

II.   The Seery Order Was, at the Very Least, Ambiguous as to
      Whether Appellants’ District-Court Motion Constituted
      Unauthorized “Pursu[it]” of a Claim.

      Even if the district court were correct and Appellants had violated

one possible interpretation of the Seery Order, the district court

nonetheless erred. Relying on such ambiguity cannot support a finding

of contempt. One may not be held in contempt unless he or she violated

an order that “neither vaguely nor ambiguously, required the [alleged

contemnor] to … abstain from certain conduct.” Sebelius, 723 F.3d at

585; see also Stewart Rapalje, A Treatise on Contempt § 43 (1884) (“In

order to punish a violation of an injunction order, the order must clearly

embrace and prohibit the act complained of ….”). “[T]he judicial contempt

power is a potent weapon which should be used only where clearly

warranted.” Matter of Hailey, 621 F.2d 169, 172 (5th Cir. 1980). In

particular, “a contempt citation must be based on a clear and

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unambiguous order,” and “any ambiguities redound in favor of the

accused.” O’Quinn, 913 F.2d at 222 (citing NBA Props., Inc. v. Gold, 895

F.2d 30, 32 (1st Cir. 1990)); see also Piggly Wiggly, 177 F.3d at 383

(finding of contempt must be reversed on appeal “‘if the court’s order upon

which the contempt was founded is vague or ambiguous.’ Therefore, the

contempt power should only be invoked where a specific aspect of [an

order] has been clearly violated.”) (quoting Martin v. Trinity Indus., Inc.,

959 F.2d 45, 47 (5th Cir. 1992)).12

     An “ambiguous” textual provision is one that is “capable of being

understood in two or more possible senses or ways.” Tex. Workforce

Comm’n v. U.S. Dep’t of Educ., 973 F.3d 383, 388 (5th Cir. 2020) (cleaned

up); see also Tex. Sav. & Cmty. Bankers Ass’n v. Fed. Hous. Fin. Bd., 201

F.3d 551, 554 (5th Cir. 2000) (citing conflicting definitions from Webster’s


12 This rule against ambiguity is a contempt-proceeding equivalent of the

rule of lenity, which is a “time-honored interpretive guideline,” Cargill v.
Garland, 57 F.4th 447, 471 (5th Cir. 2023) (en banc) (quotation marks
omitted), that resolves ambiguity in favor of potential defendants. Just
as lenity is driven by due process and separation of powers concerns in
the criminal context, id. at 470; id. at 473 (Ho, J., concurring in part), the
requirement of an unambiguous prohibition to support a finding of
contempt serves similar functions. Both ensuring fair notice and
restricting the consolidation of disparate authority in a single
decisionmaker are served by that rule, in the bankruptcy context just as
elsewhere.
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and Black’s as evidence of ambiguity). Here, at least one reasonable

reading of the word “pursue” as used in the Seery Order (if not the most

reasonable one) requires action to prosecute a “claim” that has been

“commence[d].” Merely recognizing this as a credible interpretation of

the word as compared to the interpretation offered by the courts below,

is sufficient to show that the Seery Order is ambiguous and the contempt

sanction improper.      “It is enough that there are two reasonable,

competing interpretations [of the order], which is the very definition of

ambiguity. Given the ambiguity …, [the alleged contemnors’] conduct in

accordance with their reasonable interpretation of the [order] … cannot

be contumacious.” Doe, 1-13 ex rel. Doe Sr. 1-13 v. Bush, 261 F.3d 1037,

1062 (11th Cir. 2001); see also Matter of Baum, 606 F.2d at 593 (contempt

improper “[g]iven the possible uncertainty concerning the effect of [the]

order”).

     Such ambiguity is made even more obvious given that the Seery

Order’s text did not provide Appellants any viable mechanism for

requesting the permission to add Seery as defendant on the claims at

issue in the Highland suit. The Seery Order only requires permission

before “commenc[ing] or pursu[ing]” a “claim of willful misconduct or


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gross negligence against Mr. Seery.” ROA.1172. That is the Order’s

purported gatekeeping function, where the bankruptcy court attempts to

keep control of such claims for itself. But any claims involving lesser

mens rea are functionally banned outright as there is no provision for

granting permission for them. Appellants’ only plausible recourse was to

seek supervening permission from the district court while acknowledging

the gatekeeping and exculpatory aspects of the Seery Order. Nothing in

the Seery Order plainly or unambiguously prohibited such a challenge to

the exculpatory provisions or required a pointless request for permission

from the bankruptcy court that the Order indicated would not be

forthcoming. 13

     Because there is at least “sufficient room for difference of opinion”

as to whether Appellants violated the Seery Order, that “divest[s] their

acts of the character of contempts of court, until the court shall have

explicitly declared what they shall or shall not do.” Vose v. Internal

Improvement Fund, 28 F. Cas. 1286, 1288 (C.C.N.D. Fla. 1875) (Bradley,


13 Of course, the Motion itself recognized that if the district court rejected

the exculpatory aspects of the Seery Order, it could still refer the ultimate
decision on the Motion to the bankruptcy court. ROA.2697. Thus, filing
in the district court did not foreclose the bankruptcy court from being
able to perform a gatekeeping function if the district court agreed.
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J.). Rather than simply clarifying the at best ambiguous Seery Order, the

bankruptcy court jumped straight to contempt and must be reversed.

III. The Damages Imposed by the Bankruptcy Court Were Not
     Caused by the Alleged Contempt, Rendering them and the
     Order as a Whole Invalid.

     Apart from the absence of contemptuous conduct, the damages

awarded by the bankruptcy court were not caused by the allegedly

contemptuous Motion and hence reflected impermissible punishment

rather than compensatory civil damages. In re Cleveland Imaging &

Surgical Hosp., LLC, 26 F.4th 285, 292 n.9 (5th Cir. 2022) (“Bankruptcy

courts lack the power to impose sanctions so punitive that they amount

to a finding of criminal contempt.”). The $239,655 awarded to Highland

were not for any costs imposed by the Motion (which cost them nothing),

nor even for attempting to recover any such claimed costs (Highland

made no such claim in their motion for an order to show cause,

ROA.1778). Rather, they were exclusively for the costs expended on the

improper effort to punish an alleged contempt that had already ceased

and caused no damages.14


14 And part of the damages awarded were for expenses the bankruptcy

court merely “assume[d]” were “related to the contempt matter.”
Contempt Order at 29 (ROA.55).
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     Those proceedings had no legitimate compensatory function and

were not proximately caused by the Motion, but instead by the

intervening cause of Highland’s and the bankruptcy court’s improperly

punitive pursuits. See Mazant v. Visioneering Inc., 250 F. App’x 60, 66

(5th Cir. 2007) (“[A] tortfeasor is not liable for damages brought about by

a later, separate, independent, intervening cause, even though the

tortfeasor’s conduct may have created the original peril.”) (citations

omitted); Dew v. Crown Derrick Erectors, Inc., 208 S.W.3d 448, 450 (Tex.

2006) (“A new and independent cause is one that intervenes between the

original wrong and the final injury such that the injury is attributed to

the new cause rather than the first and more remote cause. … An

intervening cause … reliev[es] that defendant of liability.”) (citations

omitted).

     Here, the contempt proceedings were commenced and pursued not

to recover actual damages or to terminate ongoing contempt, but rather

to create damages to punish Appellants and Dondero, and perhaps to

deter future questioning of or challenges to the bankruptcy court’s




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orders. 15   Each of those purposes is punitive and more properly

characterized as the function of criminal contempt. Such unnecessary

costs cannot be characterized as having been “caused” by the harmless

and terminated Motion, but instead by the intervening cause of Highland

and the district court seeking punishment.

      Furthermore, even if imposing the cost of those unnecessary and

punitive proceedings could be characterized as “compensation,” the

bankruptcy court did not measure those costs against the expense

Highland would have borne in the absence of the allegedly contemptuous

choice of initial venue. See ROA.11708 (raising issue at hearing). Had

Appellants first filed the Motion for leave with the bankruptcy court

rather than with the district court, there is no doubt Highland would


15 Had the bankruptcy court merely forced the parties to wait in the hall

for several days and then imposed as compensation the costs Highland’s
lawyers charged for engaging in such a pointless exercise, it would be
apparent that such award was punitive rather than genuinely
compensatory in nature. Given the absence of any claim for damages
from the Motion itself, and no ongoing contempt to be suppressed, the
contempt proceedings here are functionally no different. They served no
valid civil purpose. One cannot treat the fees expected in a proceeding to
be deemed damages sufficient to initiate that proceeding, else all
contempt proceedings would be civil simply because a complaining party
sought to recover fees for their time in helping to punish the target. Cf.
Diamond v. Charles, 476 U.S. 54, 70–71 (1986) (potential recovery of
attorney’s fees to be expended on a case not sufficient to confer standing).
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have opposed such leave both in the bankruptcy court and on the

inevitable appeal of its denial. Cf. ROA.11886, ROA.11888, ROA.11891

(Highland attacking the proposed amended complaint itself during the

contempt proceedings). It thus would have expended far more than the

nothing it actually spent in response to the short-lived Motion, and quite

likely a comparable or greater amount than it spent on the improper

contempt proceedings. Absent such a comparison of expenses, the

bankruptcy court failed to address causation properly and again

illustrated the punitive nature of the proceedings and resulting contempt

award.

     In order to be properly characterized as “civil,” a contempt sanction

“must be compensatory rather than punitive in nature.… A fee award is

[compensatory] if it covers the legal bills that the litigation abuse

occasioned. But if an award extends further than that—to fees that

would have been incurred without the misconduct—then it crosses the

boundary from compensation to punishment.” Goodyear Tire & Rubber

Co. v. Haeger, 137 S. Ct. 1178, 1186 (2017).         “That kind of causal

connection … is appropriately framed as a but-for test: The complaining

party … may recover ‘only the portion of his fees that he would not have


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paid but for’ the misconduct.” Id. at 1187 (quoting Fox v. Vice, 563 U.S.

826, 836 (2011)). Insofar as the costless Motion in the district court

ultimately saved Highland the amounts it would otherwise have spent

litigating in the bankruptcy court and then the district court, the

supposed contempt cannot be said to have “caused” any net injury.

     On appeal, the district court acknowledged that “Highland might

have paid more attorneys’ fees if [Appellants] had … requested the

bankruptcy court’s permission to sue Seery,” but deemed such avoided

costs irrelevant to the “fees incurred during the contempt hearing, which

would not have occurred in the absence of the sanctioned conduct.”

ROA.12271 n.82 (quoting Goodyear, 137 S. Ct. at 1187). But the district

court misconstrues the but-for principle of Goodyear.

     The question is not whether a particular proceeding and its

expenses would have occurred at all absent the challenged conduct, but

whether the proceeding that did occur imposed added costs beyond what

would otherwise have been incurred absent the challenged conduct. See

Fox, 563 U.S. at 839 (the complaining party’s “attorneys would have done

much the same work even if Fox [the sanctioned party] had not brought

his frivolous claims”; it “seems likely that Vice’s attorneys would at least


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have conducted similar fact-gathering activities” for the claims remanded

to state court; “The District Court’s decision to award full attorney’s fees

to Vice failed to take proper account of this overlap between the frivolous

and non-frivolous claims.”). Fox rejected the fee award for having failed

to apply the proper but-for standards. That the expenses Vice would have

incurred absent Fox’s sanctionable conduct were not for legally identical

tasks (litigating federal-law claims versus litigating state-law claims) did

not prevent the comparable costs of state court litigation from being

viewed as an alternative cause of the expenditures, thus undermining

any but-for causation from the frivolous federal court claims. It was

enough that Vice’s counsel would have “done much the same work” even

had no sanctionable conduct occurred. Id.

     In this case, Highland would have incurred costs shielding Seery

from liability even if Appellants had first moved the bankruptcy court for

permission to make him a defendant. That such alternative proceedings

would have been different than the (unnecessary) contempt proceedings

on which Highland spent its resources is irrelevant. See Fox, 563 U.S.

at 840 (rejecting test that merely “traced” expenses to an ensuing

proceeding as not properly accounting for work the “lawyers would have


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done” regardless of the improper conduct) (cleaned up). But-for causation

requires consideration of the counterfactual alternative absent the

alleged contempt, not merely what did occur after the alleged contempt.

And even if there were uncertainty about the relative magnitude of such

alternative expenditure scenarios, the failure to even apply the proper

causations standards reflects the punitive, rather than compensatory,

nature of the award.

     Whatever discretion a trial court may enjoy in calculating

compensatory fines for sanctionable litigation conduct, “[a] trial court has

[such] wide discretion … only when[] it calls the game by the right rules.”

Fox, 563 U.S. at 839. “[T]he trial court must apply the correct standard,

and the appeals court must make sure that has occurred.” Id. at 838.

Here, the bankruptcy court applied an incorrect standard of injury

causation, ignoring both the intervening cause of unnecessary and

improperly punitive proceedings and the proper standards for offsetting

expenditures that would have been incurred even absent the challenged

conduct. Both issues remove the award from the properly compensatory

or remedial civil category and show it to be a punitive award reserved to

criminal contempt proceedings beyond the power of a bankruptcy court.


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IV.   The Barton Doctrine Has Suspect Foundations and Should
      Not Be Extended to Corporate Officers of the Debtor.

      Finally, the district court also erred by approving an unsupported

expansion of the Barton doctrine, which is already on shaky ground given

more recent jurisprudential developments that render the initial case

doubtful.

      Before turning to the substance of the Barton doctrine and whether

it can support the Seery Order, Appellants first note that this Court may

properly consider that question. Contrary to the suggestions of the courts

below, ROA.43–44, ROA.12265, a challenge to the validity and scope of

the Seery Order is appropriate in these proceedings. The Seery Order

was not a “final” appealable order at the time the Motion challenged its

application and validity because the bankruptcy court “retain[ed]

jurisdiction.” ROA.12110; Ruiz v. United States, 243 F.3d 941, 948–49

(5th Cir. 2001). This Court’s characterization of the Seery Order as

“final” in the context of reviewing the subsequent final bankruptcy order,

Matter of Highland Cap., 48 F.4th at 438 n.15, does not speak to whether

it was “final” at the time of the Motion or the resulting contempt order.16


16 But even   if considered “final,” Appellants’ Motion would have been
timely as it was effectively a Rule 60 motion. See supra n.10. Appellants
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     Nor is this an improper collateral attack on the Seery Order, as this

Court characterized the arguments raised about the Seery Order in the

proceedings concerning the separate final bankruptcy order. Id. To begin

with, the Seery Order was not at issue in the appeal regarding the final

order, yet it is directly relied upon to support the finding of contempt in

this case. Furthermore, while this Court has rejected collateral attacks

on an injunction “if earlier review of the injunction was available,”

W. Water Mgmt., Inc. v. Brown, 40 F.3d 105, 108 (5th Cir. 1994),

Appellants had no reasonable warning that the Seery Order would

extend to mere motions questioning the Order itself in the district court,

lacked a concrete and ripe factual circumstance in which to raise any

challenges prior to the Motion, and thus would have unreasonably been


had no reasonable opportunity to seek such relief earlier, before the
events leading to the Highland suit even occurred and before anyone
suggested that the Seery Order would bar mere requests to the district
court that would have been pointless in the bankruptcy court. Appellants
sought relief “within a reasonable time,” Fed. R. Civ. P. 60(c), and
certainly cannot be held in contempt for such efforts regardless whether
they were successful. If, however, the Seery Order is read to forbid such
efforts to obtain relief, it not only raises serious due process concerns, but
also implicates the First Amendment right to “petition for redress of
grievances.” Thomas v. Collins, 323 U.S. 516, 530 (1945); see also United
States v. Hylton, 710 F.2d 1106, 1111 (5th Cir. 1983) (the right to petition
is “[i]nseparable from the guaranteed rights entrenched in the first
amendment”).
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asking for an advisory opinion on hypothetical future applications of the

Order.17

     This was not a situation of nakedly and flagrantly violating an

order and then disputing it after the fact.          Rather, the supposed

“violation” was the very act of questioning the scope and application of

the order in the first place. The challenge to the Seery Order was raised

at the first reasonable opportunity prior to any willful violation of that

Order and thus should be deemed timely. Otherwise, all parties would

absurdly be forced to bring facial challenges to every hypothetical

application of every possible order.

     Renewing the Motion’s earlier challenge to the Seery Order as part

of the contempt proceedings and appeals is neither improper nor

reasonably characterized as an improper “collateral” attack. The request

for the district court to interpret, modify, or reject the Seery Order so that

the Amended Complaint could be considered or filed constituted a timely

challenge to that Order. That challenge was raised before the contempt


17 Moreover, the Attorney Appellants could not have challenged the Seery

Order when it was issued because they had not yet entered the case. And,
insofar as the contempt order seeks to hold them personally liable, the
fact that they are DAF’s agents does not make DAF their agent for
purposes of binding them or waiving their separate rights.
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proceeding itself when it was reasonably “available” to do so and thus the

renewed arguments in these proceedings are not an attempt to justify

violating the order by only challenging it after the fact.

     Returning to the substance of whether the Barton doctrine properly

can be stretched to insulate a corporate officer such as Seery, it is, of

course, true that this Court has recognized that “circuit courts have

unanimously applied the Barton doctrine in bankruptcy cases.” Carroll

v. Abide, 788 F.3d 502, 505 (5th Cir. 2015). But neither that case nor any

other Fifth Circuit case we have found discussing the Barton doctrine

applied it to cloak corporate officers with judicial immunity and exculpate

them from entire categories of claims against them. Indeed, this Court

has instead rejected the exculpatory order proposed for Seery as CEO and

other non-debtors in the final bankruptcy order in this very case. See

discussion infra, at 20.18

     The Barton doctrine should not be casually expanded given its

foundation in purposivism—a relic of an era permitting judge-made law



18Even this Court’s most recent, unpublished, decision applying the
Barton doctrine did so in the context of a trustee, not a corporate officer,
and did not suggest any further expansion. See Matter of Foster, No. 22-
10310, 2023 WL 20872, at *5–*6 (5th Cir. Jan. 3, 2023).
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to round out some broad statutory purpose even absent statutory text—

that the modern Supreme Court rejects. In Barton, the Supreme Court

relied upon its broadly conceived purpose of bankruptcy law, its policy

judgment regarding how to further or prevent frustration of that purpose,

and its preferred interactions between Article I and Article III tribunals

that Congress had not addressed and manufactured an implied

supplement to the statutory scheme to requiring the Article I judge’s

consent to initiate an action against a receiver in a foreign Article III

jurisdiction. Barton, 104 U.S. at 128.

     That interpretative approach does not fly today, and certainly

should not be extended beyond the narrow bounds of existing and binding

precedent. Cf. Gen. Motors Corp. v. Tracy, 519 U.S. 278, 312 (1997)

(Scalia, J., concurring) (noting his “continuing adherence to the view that

the so-called ‘negative’ Commerce Clause is an unjustified judicial

invention, not to be expanded beyond its existing domain”). Instead, “the

Court now hews closely to the rules embedded in the enacted text, rather

than adjusting that text to make it more consistent with its apparent

purposes.” John F. Manning, The Eleventh Amendment and the Reading

of Precise Constitutional Texts, 113 Yale L.J. 1663, 1665 (2004) (citing Pa.


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Dep’t of Corr. v. Yeskey, 524 U.S. 206, 212 (1998); Brogan v. United States,

522 U.S. 398, 403 (1998)). 19

     Just as causes of action can no longer be created by the courts, they

likewise cannot be allowed to be destroyed at the whim of a bankruptcy

judge through adoption of an exculpatory clause based on an ever-

expanding reading of the implied authority Barton created.

     Even though this panel cannot override Barton or related Fifth

Circuit precedent, it need not take such precedent and expand upon it.

See Abbasi, 137 S. Ct. at 1857 (“Given the notable change in the Court’s

approach to recognizing implied causes of action, … the Court has made

clear that expanding the Bivens remedy is now a ‘disfavored’ judicial

activity.”) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 675 (2009));



19 See also Alexander v. Sandoval, 532 U.S. 275, 286–87 (2001) (“Like

substantive federal law itself, private rights of action to enforce federal
law must be created by Congress”; where a private remedy is lacking in
a statute, “a cause of action does not exist and courts may not create one,
no matter how desirable that might be as a policy matter, or how
compatible with the statute”); Ziglar v. Abbasi, 137 S. Ct. 1843, 1856
(2017) (“If the statute does not itself so provide, a private cause of action
will not be created through judicial mandate.”); Frank H. Easterbrook,
Text, History, and Structure in Statutory Interpretation, 17 Harv. J.L. &
Pub. Pol’y 61, 68 (1994) (invoking “an imputed ‘spirit’ to convert one
approach into another dishonors the legislative choice as effectively as
expressly refusing to follow the law.”)
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Hernandez v. Mesa, 140 S. Ct. 735, 750 (2020) (declining yet again to

expand Bivens into any new contexts). Rather, this Court should limit

those cases to their terms and narrow applications, which do not include

allowing gatekeeping and exculpatory orders for the benefit of the

debtor’s corporate officers.

     On appeal of the final reorganization order in this case, this Court

followed a similar approach, refusing to extend exculpatory and

gatekeeping protections to non-debtors including Seery as CEO, even

while acknowledging and permitting the Barton doctrine and related

protections to apply to debtors in possession who stand in the shoes of

trustees. Matter of Highland Cap., 48 F.4th at 435–39. But that result

turned on the presence of statutory provisions protecting debtors-in-

possession as if they were trustees, and the absence of express provisions

extending protections to non-debtor parties, including Seery as CEO. Id.

at 437–38. The Court further held that because non-debtor parties were

removed from the exculpation provisions, they were likewise not subject

to the injunction or its gatekeeping provisions, and hence it was

unnecessary to resolve challenges to those provisions as to such parties.

Id. at 438. The court did not look to policy arguments, its own views on


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the administration of bankruptcy orders, or other non-statutory

concerns. 20 Rather, it did what the Supreme Court now expects and

declined to supplement a statutory scheme beyond its terms or the terms

of binding precedent.21

     The bankruptcy court, by contrast, did precisely what the Supreme

Court now rejects—it expanded a judicially-invented doctrine beyond its

precedential scope based on its own policy views. See ROA.42 (concluding

that while Seery was not a trustee, he should be treated as such because




20 Indeed, this Court recognized that there are other ways to address

concerns with burdensome litigation, noting that a “non-debtor
exculpation within a reorganization plan is not a lawful means to impose
vexatious litigant injunctions and sanctions.” Matter of Highland Cap.,
48 F.4th at 439 n.19. Rather, the bankruptcy court has other “power to
enjoin and impose sanctions … by following the procedures to designate
[parties] vexatious litigants.” Id.
21 To be sure, this Court expressly declined to rule on the validity of the

two earlier gatekeeping orders at issue in this case. Matter of Highland
Cap., 48 F.4th 419, 438 n.15. Noting that it lacked jurisdiction to
consider orders (including the Seery Order) not before it on appeal, it
nonetheless observed that such orders might be final as to the parties
before it in the appeal of the final bankruptcy order. But as discussed
supra, at 47–50, for purposes of this case, the Seery order is directly at
issue, was not final at the time the Motion was made or the contempt
proceedings took place, and hence would not be res judicata here.
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of the court’s own view that it was “rather obvious” that Seery “should

have similar protections”).22

     Extending Barton in this case is even more suspect given that

Barton’s primary concern does not even apply. Barton held that a court

in the District of Columbia could not exercise jurisdiction in a suit against

a receiver that had been appointed by a court in Virginia. 104 U.S.

at 126–28, 131. Barton was rooted in the “concern that if debtors could

sue the trustee in a foreign jurisdiction, the foreign ‘court would have the

practical power to turn bankruptcy losers into bankruptcy winners.’”

Carroll, 788 F.3d at 506 (quoting In re Linton, 136 F.3d 544, 546 (7th Cir.

1998)). But here, Appellants looked only to the district court that had

authority over the bankruptcy court in this case to begin with.

     Furthermore, even as Barton has been expanded to reach Trustees

and their agents, that still does not cover this case. Seery was not hired


22 Yet, as noted in the Order approving Seery’s appointment as CEO, and

again during the contempt hearing, the bankruptcy court deferred to
Highland’s “reasonable business judgment … in proposing that Seery be
CEO”—a role he had already served in for months before seeking the
bankruptcy court’s blessing. ROA.1288, 11722. By applying the
business-judgment rule in deferring to Highland’s selections, the court
confirmed that Seery was a CEO, not the court’s agent. And the claims
regarding which DAF sought leave to amend would have challenged
Seery’s conduct as a CEO and fiduciary, not his conduct as a Director.
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or appointed by a receiver or trustee. He was not tasked by the Court

with liquidating the estate, for example. He is the CEO of a private

company, appointed by its privately designated board in their professed

“business judgment.” He is free to make private business decisions about

Highland, hire and fire employees, and purchase and dispose of

Highland’s property, all without court direction and without court

approval save for his settlement of claims against the estate for which he

must seek court approval. He is also slated to make millions of dollars in

salary and even more in bonuses. A trustee typically does not, and

cannot, do those things.23

     Other policy arguments for expanding the Barton doctrine, even if

they were relevant and appropriate, are similarly inapplicable.             For

example, the bankruptcy court emphasized that the Barton doctrine

exists to “maintain a panel of competent and qualified trustees[.]”


23 Courts that have extended Barton to the direct agents of a receiver or

trustee have done so under the guise that said agents were the
“equivalent” of the appointed receiver or trustee for policy reasons.
Lawrence v. Goldberg, 573 F.3d 1265, 1269 (11th Cir. 2009). Notably, the
Fifth Circuit has not similarly used its own policy views to expand the
Barton doctrine. Even its recent decision in Matter of Highland Cap., 48
F.4th at 439 n.17, looked to the statutory rights of a debtor-in-possession,
rather than engage in a freewheeling extrapolation of a presumed
bankruptcy policy.
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ROA.41. But this rationale for Barton has been rejected: “the Barton

doctrine is grounded in the exclusive nature of in rem jurisdiction. The

need to attract qualified individuals to serve as receivers and bankruptcy

trustees might be a legitimate policy concern, but it has nothing to do

with subject-matter jurisdiction.” Chua v. Ekonomou, 1 F.4th 948, 954

(11th Cir. 2021). Furthermore, the idea that if a candidate for CEO was

not offered immunity, then they would not do the job is also unsupported

by any evidence or even common sense. Every CEO faces such risks, are

handsomely compensated for their roles, and insurance exists precisely

to cover such concerns.

     Even this Court’s own policy explanation in Carroll that the

rationale of Barton was to prevent a litigant from “obtain[ing] some

advantage over the other claimants upon the assets in the receiver’s

hands,” 788 F.3d at 505–06, has no application in this case. The suit

against Highland itself had already and properly been initiated, and was

not restricted by any gatekeeping order. Adding Seery to that suit added

no incremental threat at all to the Highland’s assets.

     Furthermore, the Bankruptcy Code expressly authorized claims,

such as the ones for which permission was sought, to be brought without


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permission even against Trustees and receivers, as well as against other

managers of any property. 28 U.S.C. § 959(a) (“Trustees, receivers or

managers of any property, including debtors in possession, may be sued,

without leave of the court appointing them, with respect to any of their

acts or transactions in carrying on business connected with such

property.”); see also ROA.11999 (raising § 959(a) in the district court

below). Here, Appellants alleged that Seery served as both advisor and

manager with regard to property brought within Highland’s control—

HarborVest’s stake in HCLOF—and Appellants’ complaint concerns his

alleged breaches of fiduciary duty in connection with such property. That

such property was undervalued and purchased for Highland in

connection with a settlement does not insulate the conduct surrounding

it from suit as allowed by § 959(a). Otherwise, all property managed in

connection with the bankruptcy—that is to say all property bought, sold,

or held by or for a debtor—would be insulated, rendering § 959(a)

toothless.

     Given    the   Barton   doctrine’s    questionable     foundations    in

purposivism, the inapplicability of the common policy arguments used to

justify its expansion, and the statutory provisions rejecting the need for


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permission to bring suit in connection with property managed by or for a

debtor, the Barton doctrine should not be extended to insulate a private

company executive from claims based on his conduct violating his duties

as such an executive. This case is several steps removed from the Barton

doctrine, and this Court should not expand that doctrine beyond its

limited binding holdings. This Court should follow the Supreme Court’s

approach in cases like Abbasi and Hernandez and treat such expansion

beyond the narrow confines of binding precedent as disfavored. As no

such precedent extends Barton to corporate officers such as Seery, the

doctrine is inapplicable, the Seery Order invalid, and hence the judgment

of contempt erroneous.

                              CONCLUSION

     For the foregoing reasons, this Court should reverse the judgment

of contempt against Appellants. Appellants did not violate the Seery

Order, and the bankruptcy court’s conclusion that their district-court

Motion constituted unauthorized “pursu[it]” of a claim against Seery was

founded upon an unreasonable interpretation of the Order’s language.

Moreover, even if the bankruptcy court’s interpretation was a plausible

reading of the Seery Order, it was certainly not the only one, nor the best


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one. Such ambiguity means that the judgment of contempt must be

reversed. And even if the Motion could be deemed contemptuous, it did

not cause any injury and the damages awarded thus lacked any

compensatory of present remedial purpose. As their only purpose was to

punish or deter, the finding of contempt was beyond the civil contempt

authority of the bankruptcy court. Finally, because the Seery Order was

based on an unwarranted extension of an already dubious legal

principle—the Barton doctrine—the Order was invalid as applied in this

case and cannot support a finding of contempt for having questioned that

order in the district court.

February 6, 2023                        Respectfully submitted,

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     Pursuant to Fed. R. App. P. 25(d) and 5th Cir. R. 25.2.5, I hereby

certify that on February 6, 2023, I electronically filed the foregoing brief

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Fifth Circuit by using the CM/ECF system, which will accomplish service

on counsel for all parties through the Court’s electronic filing system.

                                   /s/ Erik S. Jaffe
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Dated: February 6, 2023




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